1           David A. Birdsell
2
            216 North Center
            Mesa, AZ 85201
3           (480) 644-1080 / (480) 644-1082(fax)
4
                            IN THE UNITED STATES BANKRUPTCY COURT
5
                                       FOR THE DISTRICT OF ARIZONA
6

7                                            PHOENIX DIVISION
8

9
         In re:                                     ) Chapter 7
10
                                                    )
11       MONGE, EMANUELA                            ) Case No. 2:11-bk-22689-MCW
                                                    )
12
                                                    ) APPLICATION FOR ORDER
13                                                  ) PAYMENT OF UNCLAIMED FUNDS
                          Debtor(s).                ) TO THE U.S. BANKRUPTCY COURT
14

15
                     DAVID A. BIRDSELL, Trustee reports that the following dividend
16
            checks have been issued and not presented for payment, and more than ninety
17
            (90) days has elapsed from the date of issuance.
18
              CHECK           DATE             CREDITOR’S NAME AND           AMOUNT
19             NO.           ISSUED                  ADDRESS
20
                  10106     03/13/2020 Garretson Resolution Group             $1,089.33
21                                     6281 Tri-Ridge Boulvevard
22
                                       Suite #300
                                       Cincinnati, OH 45140
23
                  10111     03/13/2020 ARIZONA PUBLIC SERVICE                    $12.63
24
                                       Po Box 53999
25                                     Phoenix, AZ 85072
26
                  10113     03/13/2020 CHASE MANHATTAN MORTGAGE              $26,880.82
27                                        CHASE CARD SERVICES
                                          PO BOX 15298
28                                        Wilmington, DE 19850
            [APP TO PAY UNCLAIMED FUNDS] - 1



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1            10115     03/13/2020 COLLECTION SERVICE BUR                        $37.37
2
                                  PO BOX 310
                                  Scottsdale, AZ 85252
3

4
             10116     03/13/2020 HEALTHCARE FUNDING SLT                        $75.41
                                  370 17TH STREET
5                                 Denver, CO 80202
6
             10117     03/13/2020 HSBC BANK                                   $763.40
7                                 ATTN: BANKRUPTCY
                                  PO BOX 5895
8
                                  Carol Stream, IL 60197
9
             10118     03/13/2020 KENNETH EISE                                  $55.05
10
                                  777 E MISSOURI AVE. SUITE 103
11                                Phoenix, AZ 85014

12           10119     03/13/2020 LA CURACAO                                  $290.38
13                                ATTN: LEGAL DEPT
                                  1605 W OLYMPIC BLVD STE 700
14                                Los Angeles, CA 90015
15
             10120     03/13/2020 MIDLAND CREDIT MANAGEMENT                   $156.05
16                                   PO BOX 939019
                                     San Diego, CA 92193
17

18           10122     03/13/2020 UNIQUE NATIONAL COLLEC                        $72.22
                                  119 E MAPLE ST
19                                Jeffersonville, IN 47130
20

21         The trustee asks that an order be entered pursuant to §347(a) of the Bankruptcy
22         Code directing the Trustee to pay over the amount of $29,432.66 to the Clerk of
23         the Court to be deposited in the Registry thereof.
24

25                August 25, 2020                          /s/ David A. Birdsell
26
                  DATE                                     DAVID A. BIRDSELL, TRUSTEE

27

28
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